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27 PEOPLE AND/OR ENTITIES WHO HAVE EXPRESSED AN INTEREST IN PURCHASING EAT HERE BRANDS, LLC ET AL. ASSETS WERE SERVED. THE NAMES OF THESE
PARTIES HAVE NOT BEEN STATED DUE TO THE NEED TO MAINTAIN CONFIDENTIALITY.
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AMFIRST INSURANCE CO LT                            ARNALL GOLDEN GREGORY LLP                 ARNALL GOLDEN GREGORY LLP
RICHARD EATON                                      DARRYL S. LADDIN                          SEAN C. KULKA
RICK.EATON@MORGANWHITE.COM                         DARRYL.LADDIN@AGG.COM                     SEAN.KULKA@AGG.COM


BENNETT THRASHER                                   BURR & FORMAN LLP                         EDWARD DON AND CO
DAVID KLOESS                                       KELLY E. WAITS                            CINDY NIEWINSKI
DAVID.KLOESS@BTCPA.NET                             KWAITS@BURR.COM                           CINDYNIEWINSKI@DON.COM


G. DALE SMITH                                      INLAND SEAFOOD                            IRBY INVESTMENTS, LLC
GDALELS@AOL.COM                                    CALLIE LEMMING                            CHARLES IRBY
                                                   CALLIE.LEMMING@INLANDSEAFOOD.COM          CHARLES@IRBYINVESTMENTS.COM


JONES WALKER LLP                                   LONDON AMERICAN INSURANCE CO.             MORRIS, MANNING & MARTIN, LLP
 JEFFREY R. BARBER                                 RICK EATON                                FRANK W. DEBORDE
JBARBER@JONESWALKER.COM                            RICK.EATON@MORGANWHITE.COM                FWD@MMMLAW.COM


MORRIS, MANNING & MARTIN, LLP                      OFFICE OF THE UNITED STATES TRUSTEE       RICHARD A WARREN, IRA
GWENDOLYN J. GODFREY                               LINDSAY P.S KOLBA                         RICHARD WARREN
WGODFREY@MMMLAW.COM                                LINDSAY.P.KOLBA@USDOJ.GOV                 RWARREN330@GMAIL.COM


ROBIN C. SELBY RLT                                 ROUNTREE LEITMAN & KLEIN, LLC             SCROGGINS & WILLIAMSON, P.C
ROBIN SELBY                                        HAL J. LEITMAN                            J. ROBERT WILLIAMSON
ROBIN@PREMIERE-SEALS.COM                           HLEITMAN@RANDLLAW.COM                     RWILLIAMSON@SWLAWFIRM.COM


SCROGGINS & WILLIAMSON, P.C.                       STACK & MOYER FAMILY HLDG LLC             SYSCO ATLANTA - 684530
J. HAYDEN KEPNER, JR.                              MIKE STACK                                DESIREE GEEGAN
HKEPNER@SWLAWFIRM.COM                              MJSTACK100@GMAIL.COM                      GEEGAN.DESIREE@CORP.SYSCO.COM


SYSCO BIRMINGHAM - 621110                          SYSCO JACKSON LLC                         SYSCO KNOXVILLE LLC
GEEGAN.DESIREE@CORP.SYSCO.COM                      DESIREE GEEGAN                            DESIREE GEEGAN
                                                   GEEGAN.DESIREE@CORP.SYSCO.COM             GEEGAN.DESIREE@CORP.SYSCO.COM


SYSCO OVERTON-741751                               THE MAXIM LAW FIRM, P.C.                  THEODORE N. STAPLETON, P.C.
DESIREE GEEGAN                                     KEVIN A. MAXIM                            THEODORE STAPLETON
GEEGAN.DESIREE@CORP.SYSCO.COM                      KMAXIM@MAXIMLAWFIRM.COM                   TSTAPLE@TSTAPLE.COM


TN DEPT OF REVENUE                                 WOMBLE BOND DICKINSON, LLP
STUART WILSON-PATTON                               CONSTANCE L. YOUNG
STUART.WILSON-PATTON@AG.TN.GOV                     CONSTANCE.YOUNG@WBD.US.COM


                                                                                         Parties Served: 29




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1821 BITTERS LLC                                1821 BITTERS LLC                   1821 BITTERS LLC
659 AUBERN AVE NE # 225                         659 AUBERN AVE DR, 225             659 AUBERN AVE NW, STE 225
ATLANTA, GA 30312                               ATLANTA, GA 30312                  ATLANTA, GA 30312




24/7 JACKSON LOCKSMITH LLC                      24/7 JACKSON LOCKSMITH LLP         29 SEVEN LLC
11 STANFORD CT                                  11 STANFORD CT                     C/O RETAIL SPC
JACKSON, MS 39211                               JACKSON, MS 39211                  2200 MAGNOLIA AVE S, STE 100
                                                                                   BIRMGINGHAM, AL 35253




29 SEVEN LLC                                    29 SEVEN LLC                       29-SEVEN, LLC
C/O RETAIL SPC.                                 P.O. BOX 531247                    6 OFFICE PARK CIRCLE, STE 100
P.O. BOX 531247                                 BIRMINGHAM, AL 35253-1247          BIRMINGHAM, AL 35223
BIRMINGHAM, AL 35253-1247




29-SEVEN, LLC                                   3 OWL INC                          33 PEACHTREE HOLDINGS, LP
C/O RGS PROPERTIES, INC                         135 AUBURN AVE NE, FL 2            3715 NORTHSIDE PARKWAY NW
6 OFFICE PARK CIRCLE, STE. 100                  ATLANTA, GA 30303                  SUITE 4-600
BIRMINGHAM. AL 35223                                                               ATLANTA, GA 30327




7'S CLEANING SERVICE LLC                        8LINCOLN30                         900 SHORT NORTH LLC
102 AMETHYST                                    5030 VALLEY STREAM RD              3955 MONTGOMERY RD
BRANDON, MS 39047                               CHARLOTTE, NC 28209                CINCINNATI, OH 45212




A&B DISTRIBUTORS INC                            ABELARDO RUIZ                      AC BEVERAGE INC
107 RANDOLPH ST NE                              875 HUNTERHILL DR                  1993 7 MORELAND PKWY
P.O. BOX 27130                                  ROSWELL, GA 30075                  ANNAPOLIS, MD 21401
KNOXVILLE, TN 37927




ACKERMAN SECURITY SYSTEMS                       ADVANCE SIGN & LIGHTING LLC        ADVANTAGE LINEN & UNIFORM
1346 OAKBROOK DR, STE 175                       P.O. BOX 128                       751 ENTERPRISE DR
NORCROSS, GA 30093                              GARDENDALE, AL 35071               LEXINGTON, KY 40510




AFTER WORDS                                     AIRE MASTER OF CENTRAL ALABAMA     AIRE-MASTER OF MID MISSISSIPPI
4010 W BOY SCOUT BLVD                           P.O. BOX 43002                     273 LAKE CIRCLE
TAMPA, FL 33607                                 BIRMINGHAM, AL 35243               MADISON, MS 39110




AIRGAS NATIONAL CARBONATION                     AJAX MEMPHIS                       AL DEPT OF REVENUE
P.O. BOX 602792                                 5020 TUGGLE RD                     2020 VALLEYDALE RD, STE 2018
CHARLOTTE, NC 28260-2792                        MEMPHIS, TN 38118                  BIRMINGHAM, AL 35244




AL ROBERTS                                      ALABAMA ABC BEVERAGE               ALABAMA CROWN DISTRIBUTING CO
2466 SOUTHWOOD RD                               2911 SEVENTH AVE S                 1330 CORPORATE WOODS DR
JACKSON, MS 39211                               BIRMINGHAM, AL 35233               ALABASTER, AL 35007




ALABAMA DEPARTMENT OF REVENUE                   ALABAMA DEPARTMENT OF REVENUE      ALABAMA DEPARTMENT OF REVENUE
2020 VALLEYDALE RD, STE 2018                    2020 VALLEYDALE RD, STE 2108       CORPORATE TAX DIVISION
BIRMINGHAM, AL 35244                            HOOVER, AL 35244                   BUSINESS PRIVILEGE TAX SECTION
                                                                                   MONTGOMERY, AL 36132-7320




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ALABAMA DEPT OF REVENUE                         ALAN E. JONES, IRA                 ALCOHOLIC BEVERAGE CONTROL
C/O CORPORATE TAX DIVISION                      2025 SHEFFIELD DR                  MISSISSIPPI DEPT. OF REVENUE
MONTGOMERY, AL 36132-7320                       JACKSON, MS 39211                  PO BOX 540
                                                                                   MADISON, MS 39130-0540




ALE 8 ONE BOTTLING COMPANY                      ALL AMERICAN HEATING & A/C CO      ALL AMERICAN HEATING & A/C CO
25 CAROL RD                                     7 WESTGATE PARK DR, STE 108        8817 WESTGATE PARK DR, STE 108
WINCHESTER, KY 40392                            RALEIGH, NC 27617                  RALEIGH, NC 27617




ALL GAUGE SHEET METAL INC                       ALL STATES MALL SERVICES II        ALPHAGRAPHICS
801 30TH ST N                                   P.O. BOX 93717                     788 E BROOKHAVEN CIR
BIRMINGHAM, AL 35203                            LAS VEGAS, NV 89193                MEMPHIS, TN 38117




AMERICAN EXPRESS                                AMERIPRIDE                         AMERIPRIDE
P.O. BOX 650448                                 10801 WAYZATA BLVD                 P.O. BOX 308
DALLAS, TX 75265-0448                           HOPKINS, MN 55305                  BEMIDJI, MN 56619-0308




AMERIPRIDE SERVICES INC                         AMERIPRIDE SERVICES INC            AMERIPRIDE SERVICES INC
P.O. BOX 1280                                   P.O. BOX 1564                      P.O. BOX 249
BEMIDJI, MN 56619-1280                          BEMIDJI, MN 56619-1564             BEMIDJI, MN 56619-0249




AMERIPRIDE SERVICES INC                         AMERITECH FACILITY SERVICES        AMFIRST INSURANCE CO LT
P.O. BOX 667                                    1500 AIRPORT DR                    ATTN: RICHARD EATON
BEMIDJI, MN 56619-0667                          BALL GROUND, GA 30107              500 STREED RD
                                                                                   RIDGELAND, MS 39157




AMFIRST INSURANCE CO LTD                        ANDREW M SAMPSON                   APG SANDY SPRINGS, LLC
500 ST RD                                       1502 KENSINGTON AVE                PEACHTREE 25TH BLDG, STE 100
RIDGELAND, MS 39157                             OCEAN SPRINGS, MS 39564            1718 PEACHTREE ST
                                                                                   ATLANTA, GA 30309




APG SANDY SPRINGS, LLP                          ARAMARK UNIFORM SERVICES           ARARAT IMPORT/EXPORT CO. LLC
1718 PEACHTREE ST, 25TH BLDG, STE 100           10801 WAYZATA BLVD                 2020 PROGRESS CT# 110
ATLANTA, GA 30309                               HOPKINS, MN 55305                  RALEIGH, NC 27608




ASCAP                                           ASSOCIATED FOOD EQUIP & SUPPL      AT&T ATLANTA
21678 NETWORK PLACE                             10381 EXPRESS DR                   P.O. BOX 105262
CHICAGO, IL 60673-1216                          GULFPORT, MS 39503                 ATLANTA, GA 30348-5262




AT&T CAROL STREAM                               AT&T MOBILITY                      ATECH INCORPORATED
P.O. BOX 5014                                   P.O. BOX 6463                      P.O. BOX 24614
CAROL STREAM, IL 60197-5014                     CAROL STREAM, IL 60197             NASHVILLE, TN 37202




ATHENS DISTRIBUTING CO                          ATHENS DISTRIBUTING CO, KNOX       ATHENS DISTRIBUTING CO, MEMPH.
P.O. BOX 1333                                   2567 PRIME WAY, STE 102            P.O. BOX 1333
MEMPHIS, TN 38101-1333                          KNOXVILLE, TN 37918                MEMPHIS, TN 38101-1333




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ATHENS DISTRIBUTING COMPANY                     ATLANTA BEVERAGE COMPANY           ATLANTA SPORT AND SOCIAL CLUB
2567 PRIME WAY - STE 102                        5000 FULTON INDUSTRIAL BLDV        260 HOWARD ST, NE UNIT 1
KNOXVILLE, TN 37918                             ATLANTA, GA 30336-1008             ATLANTA, GA 30317




ATLAS                                           ATMOS ENERGY                       ATMOS ENERGY CORPORATION
P.O. BOX 2683                                   P.O. BOX 790311                    C/O BANKRUPTCY GROUP
3530 GREENSBORO AVE                             SAINT LOUIS, MO 63179-0311         ATTN: CESAR CASTANEDA
TUSCALOOSA, AL 35403                                                               P.O. BOX 650205
                                                                                   DALLAS, TX 75265



AUTO-CHLOR SYSTEM                               B&E COMMUNICATIONS INC             BANNER LIFE INSURANCE COMPANY
193 COUNTRY PL PKWY                             P.O.BOX 7656                       P.O. BOX 740526
PEARL, MS 39208                                 JACKSON, MS 39284-7656             ATLANTA, GA 30374-0526




BARBIZON CHARLOTTE INC                          BARDETT DBA A S BARBORO-ACH        BAUMANN PAPER CO
1016 MC CLELLAND COURT                          5020 TUGGLE RD                     P.O. BOX 13022
CHARLOTTE, NC 28206                             MEMPHIS, TN 38118                  LEXINGTON, KY 40583




BENNETT THRASHER                                BENNETT THRASHER                   BENNETT THRASHER, LLP
3300 RIVERWOOD PKWY SUITE 700                   ATTN: DAVID KLOESS                 ATTN: DAVID KLOESS
ATLANTA, GA 30339                               3300 RIVERWOOD PKWY, STE 700       3300 RIVERWOOD PKWY, STE 700
                                                ATLANTA, GA 30339                  ATLANTA, GA 30039




BEST WESTERN PLUS ROSWELL                       BEVERAGE CONTROL INC               BIRMINGHAM BEVERAGE
907 HOLCOMB BRIDGE RD                           P.O. BOX 52888                     211 CITATION CT
ROSWELL, GA 30076                               KNOXVILLE, TN 37950                BIRMINGHAM, AL 35209




BIRMINGHAM BUDWEISER                            BIRMINGHAM RESTAURANT SPLY INC     BLUE BELL CREAMERIES
141 INDUSTRIAL AVE                              2428 6TH AVE S                     P.O. BOX 973601
BIRMINGHAM, AL 35211                            BIRMINGHAM, AL 35233               DALLAS, TX 75397-3601




BOBBYS ELECTRICAL SERVICE INC                   BOBKAT FARMS LLC                   BOWIE AUDIO VISUAL ENTERPRISES
2533 THIGPEN RD                                 1207 ROSEMARY RD                   290 HIGHPOINT DR
RAYMOND, MS 39154                               FLORENCE, MS 39073                 RIDGELAND, MS 39157




BRANDON LIGHTING INC                            BRAXTON L STEVENSONS WINDOW        BRENDON MURPHY
P.O. BOX 542                                    CLEANING SERVICE                   11920 HENDERSON HILL RD
BRANDON, MS 39043                               230 LEMLY AVE                      HUNTERSVILLE, NC 28078
                                                JACKSON, MS 39209




BROADWAY ELECTRIC SERVICE CORPORATION           BROWN BOTTLING - JACKSON           BRUNINI
ATTN: BRIDGETT MCMAHAN                          1651 MARQUETTE RD                  P.O. DRAWER 119
1800 N CENTRAL ST.                              BRANDON, MS 39042                  JACKSON, MS 39205
KNOXVILLE, TN 37917




BUCKHEAD BEEF COMPANY                           BUFORD PLUMBING COMPANY INC        C&J PEST SERVICES
4500 WICKERSHAM DR                              P.O. BOX 8601                      P.O. BOX 720901
ATLANTA, GA 30337                               JACKSON, MS 39284                  BYRAM, MS 39272




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CAMPBELLS BAKERY                                CANDLEWOOD SUITES BIRMINGHAM       CANDLEWOOD SUITES FLOWOOD
3013 N STATE ST                                 400 COMMONS DR                     3810 FLOWOOD DR
JACKSON, MS 39216                               BIRMINGHAM, AL 35209               FLOWOOD, MS 39232




CANDLEWOOD SUITES-MEMPHIS                       CAPITAL CITY BEVERAGE              CAPITAL CITY MECHANICAL SVCS.
7950 CENTENNIAL DR                              920 WEST COUNTY LINE RD            4955 AVALON RIDGE PARKWAY, STE 100
MEMPHIS, TN 38125                               JACKSON, MS 39213                  NORCROSS, GA 30071




CAPITOL HARDWARE CO INC                         CASE MANAGEMENT SOLUTIONS          CDE INTEGRATED SYSTEMS INC
CAPITOL BLDG PRODUCTS                           136 CAVANAUGH DR                   6 TWELVE OAK CIRCLE
P.O. BOX 12730                                  MADISON, MS 39110                  JACKSON, MS 39209
JACKSON, MS 39236-2730




CELLAR DISTRIBUTING, LLC                        CELLAR DISTRIBUTING, LLP           CENTERPOINT ENERGY
6012 OLD PINEVILLE RD SUITE E                   6012 OLD PINEVILLE RD, STE E       P.O. BOX 4981
CHARLOTTE, NC 28217                             CHARLOTTE, NC 28217                HOUSTON, TX 77210-4981




CENTURY FIRE PROTECTION                         CHAMBLISS FRESH AROMA LL (CFA)     CHEF WORKS
2450 SATELLITE BLVD                             618 BYRAM MEADOWS DR               12325 KERRAN ST
DULUTH, GA 30096                                BYRAM, MS 39272                    POWAY, CA 92064




CHEROKEE DISTRIBUTING CO                        CHILDRESS UPHOLESTERY              CINTAS 206
200 MILLER MAIN CIR                             3320 HWY 80 W, STE C               P.O. BOX 630921
KNOXVILLE, TN 37919                             JACKSON, MS 39204                  CINCINNATI, OH 45263-0921




CINTAS CORPORATION #210                         CINTAS CORPORATION #312            CINTAS CORPORATION #J66
P.O. BOX 630921                                 100 WESTHAMPTON DR                 P.O. BOX 630921
CINCINNATI, OH 45263                            LEXINGTON, KY 40511                CINCINNATI, OH 45263-0921




CITY OF ALANTA                                  CITY OF ATLANTA                    CITY OF ATLANTA
55 TRINITY AVE, STE 1350 SW                     55 TRINITY AVE, STE 1350, SW       55 TRINITY ST STE. 350
ATLANTA, GA 30303                               ATLANTA, GA 30303                  ATLANTA, GA 30303




CITY OF ATLANTA                                 CITY OF BIRMINGHAM                 CITY OF CHARLOTTE
55 TRINITY ST, STE 350                          P.O. BOX 830638                    P.O. BOX 1316
DEPT OF PLANNING AND COMMUNITY                  BIRMINGHAM, AL 35283-0638          CHARLOTTE, NC 28201-1316
ATLANTA, GA 30303




CITY OF KNOXVILLE                               CITY OF MEMPHIS-PERMIT OFFICE      CITY OF ROSWELL
P.O. BOX 1028                                   2714 UNION AVE EX, STE 100         ATTN: BUSINESS REGISTRATION OFFICE
KNOXVILLE, TN 37901-1028                        MEMPHIS, TN 38112                  38 HILL ST, STE G30
                                                                                   ROSWELL, GA 30075




CITY OF ROSWELL UTILITY PMT.                    CLARK BEVERAGE GROUP INC           CLARK DISTRIBUTING CO INC
P.O. BOX 732680                                 P.O. BOX 3090                      300 OAKLAND FLATROCK RD
DALLAS, TX 75373-2680                           BOWLING GREEN, KY 42102            OAKLAND, KY 42159




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CMC ELECTRIC, LLC                               CMC ELECTRIC, LLP                  COBB PLUMBING CO INC
P.O. BOX 1833                                   P.O. BOX 1833                      2286 PODESTA COVE
CLAYTON, NC 27528                               CLAYTON, NC 27528                  MEMPHIS, TN 38134




COCA COLA BOTTLING CO                           COCA COLA BOTTLING COMPANY         COLUMBIA GAS
P.O. BOX 602937                                 P.O BOX 105637                     P.O. BOX 742523
CHARLOTTE, NC 28260-2937                        ATLANTA, GA 30348-5637             CINCINNATI, OH 45274-2523




COMCAST                                         COMCAST                            COMCAST CABLE
P.O. BOX 530098                                 P.O. BOX 71211                     P.O. BOX 530098
ATLANTA, GA 30353-0098                          CHARLOTTE, NC 28272-1211           ATLANTA, GA 30353-0098




COMMUNIQUE CONFERENCING                         COMPEAT INC                        CONSTRUCTION CODE ENFORCEMENT
P.O. BOX 409573                                 11500 ALTERRA PARKWAY, STE 130     6465 MULLINS STATION
ATLANTA, GA 30384-1866                          AUSTIN, TX 78758                   MEMPHIS, TN 38134




CONTEMPORARY MEDIA INC                          COOK'S PEST CONTROL INC            COOK'S PEST CONTROL INC 03
P.O. BOX 1738                                   P.O. BOX 341898                    P.O. BOX 1789 , TN 37849
MEMPHIS, TN 38101                               MEMPHIS, TN 38184-1898             POWELL, TN 37849




COOPER GLASS COMPANY LLC                        CORKSCREW FINE WINE & SPIRITS      COUCH'S LAWN CARE, INC.
P.O. BOX 119                                    4800 I-55 NORTH SUITE 32           101 CHESTNUT DR
MARION, AR 72364                                JACKSON, MS 39211                  CLINTON, MS 39056




COZZINI BROS INC                                CREATION GARDENS                   CREATIVE PROCESS LLC
350 HOWARD AVE                                  2055 NELSON MILLER PKWY            P.O. BOX 4553
DES PLAINES, IL 60018                           LOUISVILLE, KY 40223               JACKSON, MS 39296




CREATIVE PROCESS LLP                            CROWN CENTERS LLC                  CROWN CENTERS LLP
P.O. BOX 4553                                   744 WHITE STATION RD               744 WHITE STATION RD
JACKSON, MS 39296                               MEMPHIS, TN 38117                  MEMPHIS, TN 38117




CROWNE CENTRE LLC                               CROWNE CENTRE LLP                  CROWNE PLAZA
5101 WHEELIS DR STE 320                         5101 WHEELIS DR, STE 320           401 W SUMMIT HILL DR
MEMPHIS, TN 38117                               MEMPHIS, TN 38117                  KNOXVILLE, TN 37902




CUSTOM BEVERAGE SYSTEMS                         CUSTOM BEVERAGE SYSTEMS, INC.      CUSTOM KLIMATE
P.O. BOX 13123                                  ATTN: RICK STANFORD                224 BROWN INDUSTRIAL PARKWAY, #107
JACKSON, MS 39236                               P.O. BOX 13123                     CANTON, GA 30114
                                                JACKSON, MS 39236




CUSTOMER IMPACT LLC                             CUSTOMER IMPACT LLP                D&V DISTRIBUTING COMPANY
P.O. BOX 130638                                 P.O. BOX 130638                    P.O. BOX 10865
SPRING, TX 77393                                SPRING, TX 77393                   KNOXVILLE, TN 37939




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DADE PAPER AND BAG CO                           DANIEL FLORES                      DARLING INGREDIENTS INC
440 INTERSTATE WEST PKWY, STE 200               7897 REDFEARN IN                   P.O. BOX 554885
LITHIA SPRINGS, GA 30122                        MEMPHIS, TN 38104                  DETROIT, MI 48255-4885




DAUENHAUER PLUMBING SERVICES                    DAVID R. WHITE                     DBR DEVELOPMENT INC
3416 ROBARDS CT                                 212 CALUMET                        6369 MACON RD
LOUISVILLE, KY 40218                            MADISON, MS 39110                  MEMPHIS, TN 38134




DBR DEVELOPMENT, INC.                           DEE JAYS EVENT RENTALS LLC         DEE JAYS EVENT RENTALS LLP
ATTN: PHILIP BRADLEY BENNETT                    704 BEACON LAKE DR                 704 BEACON LAKE DR
6369 MACON RD                                   RALEIGH, NC 27610                  RALEIGH, NC 27610
MEMPHIS. TN 38134




DELTA LIGHTING PRODUCTS INC                     DENTS HEATING AND COOLING LLC      DENTS HEATING AND COOLING LLP
2570 METROPOLITAN DR                            250 HIGHPOINT DR                   200 SHEPPARD RD,
FEASTERVILLE TREVOSE, PA 19053                  RIDGELAND, MS 39157                JACKSON, MS 39206




DIGITEL CORPORATION                             DIRECT TV                          DIXIE PRODUCE INC
2600 SCHOOL DR                                  P.O. BOX 105249                    P.O. BOX 429
ATLANTA, GA 30360                               ATLANTA, GA 30348-5249             CHATTANOOGA, TN 37401




DOUBLE J COMMUNICATIONS                         DOWNS SECURITY SOLUTIONS INC       DRAFT DOCTORS, LLC
3290 PLUM POINT RD E                            1846 CHESHIRE BRIDGE RD            ATTN: MICHELLE ATKINS
OLIVE BRANCH, MS 38654                          ATLANTA, GA 30324                  1885 NEW HOPE RD
                                                                                   JOELTON, TN 37080




DRAFT DOCTORS, LLP                              DRIVERS LICENSE GUIDE COMPANY      DUKE ENERGY
MICHELLE ATKINS                                 1492 ODDSTAD DR                    P.O. BOX 70516
1885 NEW HOPE RD                                REDWOOD CITY, CA 94063             CHARLOTTE, NC 28272-0516
JOELTON, TN 37080




EAGLE DISTRIBUTING                              EAGLE DISTRIBUTING COMPANY INC     EASTERN ALLIANCE INSURANCE GROUP
45 E H CRUMP BLVD W                             310 RADFORD PLACE                  6302 FAIRVIEW RD, STE 200
MEMPHIS, TN 38106                               KNOXVILLE, TN 37917-4936           CHARLOTTE, NC 28210




EASTERN ALLIANCE INSURANCE GRP                  EASTERN ALLIANCE INSURANCE GRP     EAT HERE BRANDS LLC. ET AL.
P.O. BOX 206                                    P.O. BOX 4664                      9755 DOGWOOD RD, STE 200
EAST PETERSBURG, PA 17520                       PHILADELPHIA, PA 19178             ROSWELL, GA 30075




ECOLAB FOOD SAFETY SPECIALTIES                  ECOLAB INSTITUTIONAL               ECOLAB PEST ELIMINATIONS
24198 NETWORK PLACE                             P.O. BOX 32027                     26252 NETWORK PL
CHICAGO, IL 60673-1241                          NEW YORK, NY 10087-2027            CHICAGO, IL 60673-1262




ECOLAB, INC.                                    EDWARD DON & COMPANY, LLC          EDWARD DON AND CO
1 ECOLAB PL                                     9801 ADAM DON PKWY                 2562 PAYSHPERE CIR
SAINT PAUL, MN 55102                            WOODRIDGE, IL 60517                CHICAGO, IL 60674




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EDWARD DON AND CO                               EIGHTH SOUTH LLC                   EIGHTH SOUTH LLP
ATTN: CINDY NIEWINSKI                           114 S COURT SQUARE                 114 S CT SQUARE
2562 PAYSPHERE CIR                              MCMINNVILLE, TN 37110              MCMINNVILLE, TN 37110
CHICAGO, IL 60674




EMERALD COAST CUTLERY INC                       EMG3, LLC                          EMG3, LLP
P.O. BOX 751                                    380 US ROUTE 1                     380 US ROUTE 1
LOXLEY, AL 36551                                FALMOUTH, ME 04105                 FALMOUTH, ME 04105




EMPIRE DISTR INC-ATL                            EMPIRE DISTR INC-RALEIGH           EMPIRE DISTR OF N. CAROLINA
3755 ATLANTA INDUSTRIAL PWKY                    1757 T.W ALEXANDER DR              13833 CAROWINDS BLVD
ATLANTA, GA 30331                               DURHAM, NC 27703                   CHARLOTTE, NC 28273




EMPIRE DISTR OF TENNESSEE                       EMPIRE DISTR OF TENNESSEE          EMPIRE DISTR OF TENNESSEE
1541 MT TABOR RD                                3676 E RAINES RD                   P.O. BOX 50188
MARYVILLE, TN 37801                             MEMPHIS, TN 38118                  KNOXVILLE, TN 37950




EMPIRE DISTRIBUTION INC ATL                     EMPIRE DISTRIBUTORS OF TN          EMPIRE DISTRIBUTORS OF TN, INC
3755 ATLANTA INDUSTRIAL PKWY                    3676 E RAINES RD                   1541 MT TABOR RD
ATLANTA, GA 30331                               MEMPHIS, TN 38118                  MARYVILLE, TN 37801




EMPIRE DISTRIBUTORS OF TN, INC                  EMPIRE DISTRIBUTORS OF TN, INC     ENGERT
3676 E RAINES RD                                P.O. BOX 50188                     P.O. BOX 55
MEMPHIS, TN 38118                               KNOXVILLE, TN 37950                KNOXVILLE, TN 37950-1000




ENGERT, LLC                                     ENTERGY                            ENVIRO-MASTER SERVICES
ATTN: BRIDGETT MCMAHAN                          P.O. BOX 8105                      P.O. BOX 12350
1800 N CENTRAL ST.                              BATON ROUGE, LA 70891-8105         CHARLOTTE, NC 28220
KNOXVILLE, TN 37917




ENVIRONMENT MASTERS, INC.                       ENVIRONMENTAL MASTERS INC          ESTATE OF SIDNEY ALLEN
ATTN: JOSHUA CRANE                              P.O. BOX 1015                      200 BRAE BURN DR
P.O. BOX 1015                                   JACKSON, MS 39215                  JACKSON, MS 39211
JACKSON, MS 39215




EVANS MEATS                                     EVIE CLARK                         EXCELERATE NETWORKS
P.O. BOX 12164                                  605 MALLISON PL                    3108 6TH AVE S
BIRMINGHAM, AL 35202                            RIDGELAND, MS 39157                BIRMINGHAM, AL 35233




EXHAUST CLEAN                                   FEDERAL ALARM COMPANY              FEDERAL REALTY INVEST TRUST
P.O. BOX 239                                    3550 COVINGTON PIKE, STE 108       1626 EAST JEFFERSON ST
MORRISVILLE, NC 27560                           MEMPHIS, TN 38128                  ROCKVILLE, MD 20852




FEDERAL REALTY INVEST TRUST                     FEDERAL REALTY INVESTMENT TRUST    FEDERAL REALTY INVESTMENT TRUST
EASGATE CROSSING LOCKBOX 9320                   ATTN: GERALDINE HOLLY              C/O ROUNTREE LEITMAN & KLEIN LLC
P.O. BOX 8500                                   1626 E. JEFFERSON ST.              2987 CLAIRMONT RD
PHILADELPHIA, PA 19178-9320                     ROCKVILLE, MD 20852                STE 175
                                                                                   ATLANTA, GA 30329



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FEDEX                                           FISHER BROWN BOTTRELL INS INC        FLORIDA CONCEPTS HOLDINGS, LLC
P.O. BOX 660481                                 P.O. BOX 1490                        36750 US HWY 19 N
DALLAS, TX 75266-0481                           JACKSON, MS 39215-1490               PALM HARBOR, FL 34684




FLORIDA CONCEPTS HOLDINGS, LLP                  FONDREN CELLARS                      FONDREN PLACE DEVELOPMENT CO
36750 US HWY 19 N                               P.O. BOX 4692                        2906 N STATE ST, STE 201
PALM HARBOR, FL 34684                           JACKSON, MS 39296                    JACKSON, MS 39216




FOOD EQUIPMENT SERVICES CO LLC                  FOOD EQUIPMENT SERVICES CO LLP       FORESTWOOD FARM INC
2315 SYCAMORE DR                                2315 SYCAMORE DR                     P.O. BOX 310728
KNOXVILLE, TN 37921-1750                        KNOXVILLE, TN 37921-1750             BIRMINGHAM, AL 35231-0728




FORSYTH CONSULTING INC                          FRANK A. SCOTT, IRA                  FRENCH AWNING & SCREEN CO.
P.O. BOX 530728                                 15397 SWAN LAKE BLVD                 4514 S.MCRAVEN RD
BIRMINGHAM, AL 35253-0728                       GULFPORT, MS 39503                   JACKSON, MS 39204




FRESH CONCEPTS                                  FRESHPOINT ATLANTA                   FRESHPOINT ATLANTA 654133
25109 JEFFERSON AVE, STE 305                    1200 OAKLEY INDUSTRIAL BLVD          1200 OAKLEY INDUSTRIAL BLVD, STE B
MURRIETA, CA 92562                              FAIRBURN, GA 30213                   FAIRBURN, GA 30213




FRESHPOINT ATLANTA 654133                       FRESHPOINT BIRMINGHAM 654130         FRESHPOINT CHAPEL HILL 57465
1200 OAKLEY INDUSTRIAL PKWY                     1200 OAKLEY INDUSTRIAL BLVD, STE B   1200 OAKLEY INDUSTRIAL BLVD
SUITE B                                         FAIRBURN, GA 30213                   FAIRBURN, GA 30213
FAIRBURN, GA 30213




FRESHPOINT CHARLOTTE                            FRESHPOINT KNOXVILLE 59012           FRESHPOINT MEMPHIS EAST - 80098
1200 OAKLEY INDUSTRIAL BLVD, STE B              740 MASSMAN DR                       740 MASSMAN DR
FAIRBURN, GA 30213                              NASHVILLE, TN 37210                  NASHVILLE, TN 37210




FRESHPOINT NASHVILLE                            FRESHPOINT OVERTON 55050             FRESHPOINT RALEIGH
740 MASSMAN DR SUITE 100                        740 MASSMAN DR                       1200 OAKLEY INDUSTRIAL BLVD
NASHVILLE, TN 37210                             NASHVILLE, TN 37210                  FAIRBURN, GA 30213




FRITZ FARM RETAIL COMPANY LLC                   FRITZ FARM RETAIL COMPANY LLP        FS-1 CONCEPTS LLC
P.O. BOX 740465                                 P.O. BOX 740465                      14 STRATFORD CT
ATLANTA, GA 30374-0465                          ATLANTA, GA 30374-0465               HATTIESBURG, MS 39402




FS-1 CONCEPTS LLP                               FULLSTEAM BREWERY LLC                FULLSTEAM BREWERY LLP
14 STRATFORD CT                                 726 RIGSBEE AVE                      726 RIGSBEE AVE
HATTIESBURG, MS 39402                           DURHAM, NC 27701                     DURHAM, NC 27701




G. DALE SMITH                                   GA DEPT OF REVENUE                   GASKET GUY
1941 HIGHWAY 550 NW                             1800 CENTURY BLVD                    2076 3RD ST
BROOKHAVEN, MS 39601                            ATLANTA, GA 30345                    MANDEVILLE, LA 70471




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GASKET GUY OF KNOXVILLE                         GEM RESTAURANT SUPPLY              GENERAL PARTS LLC
P.O. BOX 53011                                  P.O. BOX 140477                    3144 STAGE POST DR, STE 105
KNOXVILLE, TN 37950                             MEMPHIS, TN 38114                  MEMPHIS, TN 38133




GENERAL PARTS LLC                               GENERAL PARTS LLP                  GENERAL WHOLESALE-MARIETTA
P.O. BOX 9201, M110                             P.O. BOX 9201, M110                1595 MARIETTA BLVD
MINNEAPOLIS, MN 55480-9201                      MINNEAPOLIS, MN 55480-9201         ATLANTA, GA 30318




GEORGIA CROWN DISTRIBUTING CO                   GEORGIA CROWN DISTRIBUTING CO      GEORGIA DEPARTMENT OF REVENUE
100 GEORGIA CROWN DR                            100 GEORGIA CROWNE DR              1800 CENTURY BLVD
MCDONOUGH, GA 30253                             MCDONOUGH, GA 30253                ATLANTA, GA 30345




GEORGIA DEPARTMENT OF REVENUE                   GEORGIA POWER                      GERALD J. DIAZ, JR.
1800 CENTURY BLVD, NE, STE 9100                 96 ANNEX                           208 WATERFORD SQ, STE 300
ATLANTA, GA 30345                               ATLANTA, GA 30396-0001             MADISON, MS 39110




GERALD J. DIAZ, JR.                             GLOBAL CASH CARD                   GODWIN ADVERTISING AGENCY, INC
208 WATERFORD SQUARE                            7 CORPORATE PARK, STE 130          ATTN: SUSAN GRAVES
SUITE 300                                       IRVINE, CA 92606                   P.O. BOX 531
MADISON, MS 39110                                                                  JACKSON, MS 39205




GODWIN ADVERTISING AGENCY, INC.                 GODWIN GROUP                       GODWIN GROUP
ATTN: SUSAN GRAVES                              ONE JACKSON PL, STE 800            ONE JACKSON PLACE
190 EAST CAPITOL ST. SUITE 400                  P.O. BOX 531                       SUITE 800 P.O. BOX 531
JACKSON, MS 39201                               JACKSON, MS 39201                  JACKSON, MS 39201




GOT FRESH BREATH LLC                            GOT FRESH BREATH LLP               GRAPEVINE OF NORTH CAROLINA
101 ETHAN ALLEN DR                              101 ETHAN ALLEN DR                 4375 REPUBLIC CT
DAHLONEGA, GA 30533                             DAHLONEGA, GA 30533                CONCORD, NC 28027




GREAT SOUTHERN EVENTS INC                       GUEST FIRST CONSULTING, LLC        GUESTLINE INC
124 SAVE A LOT DR                               ATTN: SCOTT R. LAWTON              P. O. BOX. 21908
PEARL, MS 39208                                 95 PINEWOOD TRAIL                  LANCASTER, KY 40444
                                                TRUMBULL, CT 06611




GULF DISTR CO OF BIRMINGHAM                     GULF DISTRIBUTING CO OF BMGHM      HALIFAX LINEN SERVICE
3378 MOFFETT RD                                 3378 MOFFETT RD                    P.O. BOX 129
MOBILE, AL 36607                                MOBILE, AL 36607                   ROANOKE RAPIDS, NC 27870




HALLORAN SAGE                                   HALLORAN SAGE                      HARRIS BEVERAGE
225 ASYLUM ST                                   ATTN: ERIC BERNHEIM                3505 HILLSBOROUGH RD
HARTFORD, CT 06103                              225 ASYLUM ST.                     DURHAM, NC 27705
                                                HARTFORD, CT 06103




HARRY TS WHOLESALE                              HATCHER HILL & ASSOCIATES GP       HATCHER-HILL & ASSOCIATES, GP
758 HWY 43 S                                    311 S WEISGARBER RD                ATTN: TIMOTHY HILL
CANTON, MS 39046                                KNOXVILLE, TN 37919                311 S WEISGARBER RD
                                                                                   KNOXVILLE, TN 37919




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HENRY F SKELTON, II                             HENRY T SMITH CO INC               HINDS COUNTY TAX COLLECTOR
500 ANGLERS DR, UNIT 102                        588 S COOPER ST                    EDDIE FAIR
STEAMBOAT SPRINGS, CO 80487                     MEMPHIS, TN 38104                  P.O. BOX 1727
                                                                                   JACKSON, MS 39215-1727




HOBART SALES AND SERVICE                        HOBART SERVICES                    HOLIDAY INN EXPRESS
2626 EAST MAGNOLIA AVE                          1011 N FLOWOOD DR                  112 RIDGE WAY
KNOXVILLE, TN 37914                             FLOWOOD, MS 39232-9593             FLOWOOD, MS 39232




HOMETOWN MAGAZINES                              HOOD OF GREATER KNOXVILLE          HOSPITALITY CONTROL SOLUTIONS
P.O. BOX 1522                                   7998 GREENBRIAR RD                 1301 8TH AVE S
BRANDON, MS 39043                               TALBOTT, TN 37877                  NASHVILLE, TN 37203




HOSPITALITY CONTROL SOLUTIONS                   HOT SCHEDULES                      HOTEL & RESTAURANT SUPPLY INC
P.O. BOX 40308                                  P.O. BOX 848472                    P.O. BOX 6
NASHVILLE, TN 37204-0308                        DALLAS, TX 75284-8472              MERIDIAN, MS 39302




HYDRO BLAST HOOD CLEANING SVCS                  INLAND ATLANTA - 41719             INLAND BIRMINGHAM - 39766
2541 W MOUNTAIN CREEK RD                        P.O. BOX 450669                    P.O. BOX 450669
FLORENCE, MS 39073                              ATLANTA, GA 31145                  ATLANTA, GA 31145




INLAND CHAPEL HILL-41808                        INLAND JACKSON - 33017             INLAND KNOXVILLE-39553
P.O. BOX 450669                                 P.O. BOX 450669                    P.O. BOX 450669
ATLANTA, GA 31145                               ATLANTA, GA 31145                  ATLANTA, GA 31145




INLAND LEXINGTON-42969                          INLAND MEMPHIS EAST - 41554        INLAND OVERTON - 38470
P.O. BOX 450669                                 P.O. BOX 450669                    P.O. BOX 450669
ATLANTA, GA 31145                               ATLANTA, GA 31145                  ATLANTA, GA 31145




INLAND SEAFOOD                                  INTEGRATED SYSTEMS LLC             INTEGRATED SYSTEMS LLP
ATTN: ACCOUNTS RECEIVABLE                       116 SOUTH MAILN AVE                116 SOUTH MAILN AVE
P.O. BOX 450669                                 DYERSBURG, TN 38024                DYERSBURG, TN 38024
ATLANTA, GA 31145




INTERNAL REVENUE SERVICE                        INTL WINES & CRAFT BEER            INT'L WINES & CRAFT BEER
CENTRALIZED INSOLVENCY OPERATION                301 SNOW DR                        100 GILBERT DR
PO BOX 7346                                     BIRMINGHAM, AL 35209-6305          ALABASTER, AL 35007
PHILADELPHIA, PA 19101-7346




INVESTMENT PARTNERS, LLC                        INVESTMENT PARTNERS, LLP           IPFS CORPORATION
114 S. COURT SQUARE                             114 S CT SQUARE                    1055 BROADWAY BLVD
MCMINNVILLE, TN 37110                           MCMINNVILLE, TN 37110              KANSAS CITY, MO 64105




IPFS CORPORATION                                IRBY INVESTMENTS, LLC              IRBY INVESTMENTS, LLC
P.O. BOX 730223                                 4027 HILLSBORO PIKE, SUITE 803     ATTN: CHARLES IRBY
DALLAS, TX 75373-0223                           NASHVILLE, TN 37215                4027 HILLSBORO PIKE, STE 803
                                                                                   NASHVILLE, TN 37215




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IRBY INVESTMENTS, LLP                           IRON MOUNTAIN                            IT CONNECTIONS LLC
4027 HILLSBORO PIKE, STE 803                    P.O. BOX 915004                          406 AMUNDSEN COVE
NASHVILLE, TN 37215                             DALLAS, TX 75391-5004                    CORDOVA, TN 38018




IT CONNECTIONS LLP                              J.H. HONEYCUTT & SONS, INC               J.W.AYERS PLUMBING
406 AMUNDSEN COVE                               215 EAST HOLLAND ST                      2075 LIDDELL DR NE
CORDOVA, TN 38018                               P. O. BOX 391                            ATLANTA, GA 30324
                                                CHADBOURN, NC 28431




JACKSON BREAD CO                                JACKSON FREE PRESS INC                   JAMES W. CORLEY
655 LAKE HARBOUR DR, STE 500                    125 S CONGRESS ST, 1324                  6658 YOSEMITE LANE
RIDGELAND, MS 39157                             JACKSON, MS 39201                        DALLAS, TX 75214




JEFFERSON COUNTY DEPARTMENT OF REVENUE          JEFFERSON COUNTY DEPARTMENT OF REVENUE   JEFFERSON COUNTY DEPT OF REV.
P.O. BOX 12025                                  P.O. BOX 830710                          REVENUE ALCOHOL BEV TAX REPORT
BIRMINGHAM, AL 35283-2025                       BIRMINGHAM, AL 35283-0710                P.O. BOX 12025
                                                                                         BIRMINGHAM, AL 35283-2025




JEFFERSON COUNTY DEPT. OF REV                   JEFFERSON COUNTY DEPT. OF REV            JEFFERSON COUNTY DEPT. OF REVENUE
P.O. BOX 12025                                  P.O. BOX 830710                          REVENUE ALCOHOL BEV TAX REPORT
BIRMINGHAM, AL 35283-2025                       BIRMINGHAM, AL 35283-0710                P.O. BOX 12025
                                                                                         BIRMINGHAM, AL 35283-2025




JEMCO, LLC                                      JEMCO, LLP                               JEREMY GLISSON
46 CALUMET COURT                                46 CALUMET CT                            1703 OLD FANNIN RD APT E10
MADISON, MS 39110                               MADISON, MS 39110                        FLOWOOD, MS 39232




JESSE ROBERTSON                                 JOANNE SHELLEY                           JODI CARY
1106 LEGACY LAKE CIR, APT 202                   7520 WINTERS CHAPEL RD                   840 BRIDGE POINT
COLLIERVILLE, TN 38017                          ATLANTA, GA 30350                        ALPHARETTA, GA 30005




JODI MEDINA                                     JOHN TOMASEVICH                          JOHNNIE THOMAS
840 BRIDGE POINTE CT                            11051 BERKELY CLUB DR, APT 105           5811 RIVER RD
ALPHARETTA, GA 30005                            RALEIGH, NC 27617                        JACKSON, MS 39211




JOHNSON BROTHERS MUTUAL DISTRI                  JONES MCLEOD INC                         JUD HEUBACH
1133 UPPER ARBURY AVE                           1530 ALTON RD                            486 ANNANDALE PKWY
CHARLOTTE, NC 28206                             P.O. BOX 101329                          MADISON, MS 39110
                                                BIRMINGHAM, AL 35210




KATHLEEN HOUSE HARDIN, ROTH IR                  KATHLEEN HOUSE HARDIN, ROTH TR           KENTUCKY EAGLE INC
2210 HERITAGE HILL DR                           2210 HERITAGE HILL DR                    2440 INNOVATION DR
JACKSON, MS 39211                               JACKSON, MS 39211                        LEXINGTON, KY 40511




KENTUCKY STATE TREASURER                        KENTUCKY WINDOW CLEANING                 KERNER FAMILY 944 CANTON LLP
KENTUCKY DEPT OF REVENUE                        P.O. BOX 24039                           90 CLIFFSIDE CROSSING
FRANKFORT, KY 40618-0010                        DAYTON, OH 45424                         ATLANTA, GA 30350




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KETER ENVIRONMENTAL SERVICES                    KIM PARR                           KNOX COUNTY TRUSTEE
P.O. BOX 417468                                 9755 DOGWOOD RD, STE 200           P.O. BOX 70
BOSTON, MA 02241-7468                           ROSWELL, GA 30075                  KNOXVILLE, TN 37901




KNOXVILLE BEVERAGE COMPANY INC                  KNOXVILLE CULLIGAN WATER           KNOXVILLE TENESSEE
P.O. BOX 51628                                  11150 OUTLET DR                    301 S GAY ST
KNOXVILLE, TN 37950-1628                        KNOXVILLE, TN 37932                KNOXVILLE, TN 37902




KU A PPL COMPANY                                KUB                                LA CENTRAL CLEANING LLC
P.O. BOX 9001954                                P.O. BOX 59017                     2020 HOWELL MILL RD # 201
LOUISVILLE, KY 40290-1954                       KNOXVILLE, TN 37950-9017           ATLANTA, GA 30318




LA CENTRAL CLEANING LLP                         LAMAR                              LAMAR COMPANIES
2020 HOWELL MILL RD, 201                        PO BOX 24613                       P.O. BOX 96030
ATLANTA, GA 30318                               KNOXVILLE, TN 37933                BATON ROUGE, LA 70896




LANE MECHANICAL INC.                            LAST DAYS OF AUT BREWING LLC       LAST DAYS OF AUT BREWING LLP
515 INDUSTRIAL WAY NORTH                        808 E MAGNOLIA AVE                 808 EAST MAGNOLIA AVE
DALLAS, GA 30132                                KNOXVILLE, TN 37917                KNOXVILLE, TN 37917




LAST DAYS OF AUTUMN BREWING                     LAUREN IANNACO                     LEXINGTON POLICE DEPARTMENT
808 EAST MAGNOLIA AVE                           236 ROSS MOORE AVE                 150 EAST MAIN ST
KNOXVILLE, TN 37917                             CHARLOTTE, NC 28205                LEXINGTON, KY 40507




LEXINGTON RETAIL COMPANY, LLC                   LEXINGTON RETAIL COMPANY, LLP      LFUCG
C/O BAYER PROPERTIES, LLC                       C/O BAYER PROPERTIES, LLP          150 E MAIIN ST
2222 ARLINGTON AVE                              2222 ARLINGTON AVE                 LEXINGTON, KY 40507
BIRMINGHAM, AL 35205                            BIRMINGHAM, AL 35205




LIGHT BULB DEPOT                                LINCOIN RD PACKAGE STORE           LIPMAN BROTHERS
P.O. BOX 410                                    2800 LINCOIN RD                    P.O. BOX 280300
AURORA, MO 65605-0410                           HATTIESBURG, MS 39402              411 GREAT CIRCLE RD
                                                                                   NASHVILLE, TN 37228-0300




LONDON AMERICAN INSURANCE CO.                   LONDON AMERICAN INSURANCE CO.      LONG BEVERAGE
8401 NORTH CENTRAL EXPRESSSWAY                  ATTN: RICHARD EATON                10500 WORLD TRADE BLVED
DALLAS, TX 75225                                8401 N CENTRAL EXPRESSSWAY         RALEIGH, NC 27617
                                                DALLAS, TX 75225




LOOMIS                                          LOOMIS ARMORED US LLC              LS SCREENING LLC
DEPT 0757                                       2500 CITY WEST BLVD, STE 900       P.O. BOX 2051
P.O. BOX 120757                                 HOUSTON, TX 77042                  LEANDER, TX 78646
DALLAS, TX 75312-0757




LS SCREENING LLP                                LYNN WALL                          MALORY FORLITI
P.O. BOX 2051                                   139 NORTH NATCHEZ                  250 PIEDMONT AVE NE UNIT 1011
LEANDER, TX 78646                               MADISON, MS 39110                  ATLANTA, GA 30308




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MARCUS COLEMAN                                  MARSHALL'S LANDSCAPE MAINT LLC           MARSHALL'S LANDSCAPE MAINT LLP
1321 8TH ST                                     19150 HIGHWAY 18                         19150 HIGHWAY 18
PLEASANT GROVE, AL 35127                        RAYMOND, MS 39154                        RAYMOND, MS 39154




MARY WALLACE                                    MCCARTNEY PRODUCE LLC                    MCCARTNEY PRODUCE LLP
6450 POPLAR AVE SUITE 101                       P.O. BOX 219                             P.O. BOX 219
MEMPHIS, TN 38119                               PARIS, TN 38242                          PARIS, TN 38242




MECHANICAL SYSTEMS COMPANY LLC                  MECHANICAL SYSTEMS COMPANY LLP           MECKLENBURG COUNTY TAX COLLECT
3965 OLD GETWELL RD                             3965 OLD GETWELL RD                      P.O. BOX 31457
MEMPHIS, TN 38118                               MEMPHIS, TN 38118                        CHARLOTTE, NC 28231-1457




MELISSA LIBBY & ASSOCIATES                      MELISSA LIBBY & ASSOCIATES INC           MELISSA SKELTON
1425 ELLSWORTH IND BLVD NW                      1425 ELLSWORTH INDUSTRIAL BLVD, STE 10   133 CAMDEN LANE
ATLANTA, GA 30318                               ATLANTA, GA 30318                        MADISON, MS 39110




MEMPHIS BOTANIC GARDEN FDN                      MEMPHIS LIGHT & GAS WATER DIVISION       MEMPHIS LIGHT GAS & WATER
750 CHERRY RD                                   P.O. BOX 388                             ATTN: ALISHA PAYNE
MEMPHIS, TN 38117                               MEMPHIS, TN 38145-0388                   220 S. MAIN ST.
                                                                                         MEMPHIS, TN 38101




MEMPHIS LIGHT GAS & WATER                       MEMPHIS LIGHT GAS & WATER DIV            MEMPHIS MADE BREWING
P.O. BOX 430                                    P.O. BOX 388                             768 S COOPER
MEMPHIS, TN 38101                               MEMPHIS, TN 38145-0388                   MEMPHIS, TN 38104




MEMPHIS RESTAURANT ASSOCIATION                  MEMPHIS/SHELBY CO METRO ALARM            METRO COMMUNICATIONS INC
P.O. BOX 770027                                 125 NORTH MAIN, RM 1B20                  P.O. BOX 13668
MEMPHIS, TN 38177-0027                          MEMPHIS, TN 38103                        JACKSON, MS 39236-3668




METRO FIRE SYSTEMS INC                          MICHAEL J ANTHONY, IRA                   MICHAEL S. FORTENBERRY
1327 GALLATIN ST                                4525 COLE AVE, APT 1101                  3941 EASTWOOD DR
JACKSON, MS 39201                               DALLAS, TX 75205                         JACKSON, MS 39211




MICHELLE LAVERTY                                MIMS DISTRIBUTING COMPANY                MISSISSIPPI DEPARTMENT OF REVENUE
1796 NELSON AVE                                 8605 EBENEZER CHURCH RD                  1577 SPRINGRIDGE
MEMPHIS, TN 38114                               RALEIGH, NC 27617                        RAYMOND, MS 39514




MISSISSIPPI DEPARTMENT OF REVENUE               MISSISSIPPI DEPARTMENT OF REVENUE        MISSISSIPPI DEPARTMENT OF REVENUE
500 CLINTON CENTER DR                           BANKRUPTCY SECTION                       BANKRUPTCY SECTION
CLINTON, MS 39056                               ATTN: NIKESHIA AGEE                      P.O. BOX 22808
                                                P.O. BOX 22808                           JACKSON, MS 39225-2808
                                                JACKSON, MS 39225



MISSISSIPPI DEPT OF REVENUE                     MISSISSIPPI ECONOMIC COUNCIL             MISSISSIPPI MAGAZINE
P.O. BOX 1033                                   STATE CHAMBER OF COMMERCE                5 LAKELAND CIRCLE
JACKSON, MS 39215                               P.O. BOX 23276                           P.O. BOX 16445
                                                JACKSON, MS 39225-3276                   JACKSON, MS 39236




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MISSISSIPPI SERVICES                            MOBILE FIXTURE                     MOON & HINES, LLC
P.O. BOX 12847                                  1155 MONTLIMAR DR                  P. O. BOX 3216
JACKSON, MS 39236-2847                          MOBILE, AL 36609                   RIDGELAND, MS 39157




MOON & HINES, LLP                               MOORE'S CARPET CARE                MORRIS, MANNING & MARTIN, LLP
P.O. BOX 3216                                   P.O. BOX 365                       ATTN: FRANK W. DEBORDE/ GWENDOLYN J. GODF
RIDGELAND, MS 39157                             RIDGELAND, MS 39158                1600 ATLANTA FINANCIAL CTR
                                                                                   3343 PEACHTREE RD, NE
                                                                                   ATLANTA, GA 30326



MORRISON AND FOERSTER LLP                       MPE SERVICES LLC                   MPE SERVICES LLP
P.O. BOX 742335                                 7787 HIGHWAY 75                    7787 HIGHWAY 75
LOS ANGELES, CA 90074-2335                      BIRMINGHAM, AL 35216               BIRMINGHAM, AL 35216




MS BEES                                         MS DEPARTMENT OF REVENUE           MS DEPARTMENT OF REVENUE
P.O. BOX 1015                                   1577 SPRINGRIDGE RD                1577 SPRINGRIDGE RD
FLORA, MS 39071                                 RAYMOND, MS 39154                  RAYMOND, MS 39154-9602




MS DEPARTMENT OF REVENUE                        NATIONAL DISTRIBUTING CO-ATL       NATIONAL FOOD EQUIPMENT SVCS
1577 SPRINGRIDGE RD                             1 NATIONAL DR, SW                  2201 BRENTWOOD RD, STE 107
RAYMOND, MS 39514                               ATLANTA, GA 30336                  RALEIGH, NC 27604




NBS                                             NCR HOSTED SOLUTIONS               NED LIDVALL
155 WILLBROOK BLVD                              864 SPRIN ST NW                    1850 MARCIA OVERLOOK DR
WAYNE, NJ 07470                                 ATLANTA, GA 30308                  CUMMING, GA 30041




NETWORK BILLING SYSTEMS LLC D/B/A               NEXAIR LLC                         NEXAIR LLP
P.O. BOX 392193                                 P.O. BOX 125                       P.O. BOX 125
PITTSBURGH, PA 15251-9193                       MEMPHIS, TN 38101-0125             MEMPHIS, TN 38101-0125




NOVATECH INC                                    NUCO2 LLC                          NUCO2 LLP
P.O. BOX 740865                                 P.O. BOX 417902                    P.O. BOX 417902
ATLANTA, GA 30374-0865                          BOSTON, MA 02241-7902              BOSTON, MA 02241-7902




OBSIDIAN PUBLIC RELATIONS LLC                   OBSIDIAN PUBLIC RELATIONS LLP      OFF THE DOCK FRESH SEAFOOD
493 S MAIN ST, STE 101                          493 S MAIN ST, STE 101             P.O. BOX 18811
MEMPHIS, TN 38103                               MEMPHIS, TN 38103                  MEMPHIS, TN 38181




OFF THE LOT DETAILING                           OFFICE OF THE ATTORNEY GENERAL     OGLETREE DEAKINS NASH SMOAK
125 AVIAN LN                                    STATE OF GEORGIA                   P.O. BOX 89
JACKSON, MS 39204                               40 CAPITOL SQUARE SW               COLUMBIA, SC 29202
                                                ATLANTA, GA 30334




ONEPOINT                                        ORANGE CO. LBD                     ORANGE CO. LBD
P.O. BOX 1849                                   1800 E FRANKLIN                    601 VALLEY FORGE RD
WOODSTOCK, GA 30188-1369                        , NC 28514                         HILLSBOROUGH, NC 27278




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ORANGE CO. TAX OFFICE-RENEWAL                   ORANGE WATER AND SEWER AUTHORI     ORIGIN BANK
P.O. BOX 8181                                   P.O. BOX 602659                    1063 HIGHLAND COURT PARKWAY
HILLSBOROUGH, NC 27278                          CHARLOTTE, NC 28260-2659           RIDGELAND, MS 39157




ORIGIN BANK                                     ORIGIN BANK                        ORIGIN BANK
1101 ROC LN                                     C/O HIGHLAND CLONY FINANCIAL CTR   C/O HIGHLAND COLONY FINANCIAL CENT
RUSTON, LA 71270                                1063 HIGHLAND COLONY PARKWAY       1063 HIGHLAND COLONY PARKWAY
                                                                                   RIDGELAND, MS 39157




ORIGIN BANK                                     ORIGINAL GRIT GIRL                 OVERTON SQUARE LLC
HIGHLAND COLONY FINANCIAL CTR                   P.O. BOX 3023                      P.O. BOX 171247
1063 HIGHLAND COLONY PKWY                       OXFORD, MS 38655                   MEMPHIS, TN 38187-1247
RIDGELAND, MS 39157




OVERTON SQUARE SOUTH, LLC                       OVERTON SQUARE SOUTH, LLP          PAINTING AND FAUX FINISHING
P.O. BOX 171247                                 P.O. BOX 171247                    ATTN: JARED MCDADE
MEMPHIS, TN 38187-1247                          MEMPHIS, TN 38187-1247             4054 OWEN RD
                                                                                   MEMPHIS, TN 38122




PARTNERS IN EDUCATION                           PAUL BROOKS EASON                  PAVILION BUILDING LLC
1000 NORTH CENTRAL AVE                          103 OAKHURST TRAIL                 PAVILION CENTER
KNOXVILLE, TN 37917                             RIDGELAND, MS 39157                C/O EQUITABLE
                                                                                   1215 HIGHTOWER TRAIL
                                                                                   ATLANTA, GA 30350



PAVILION BUILDING LLC                           PAVILION BUILDING LLP              PAVILION BUILDING, LLC
PAVILION CENTER C/O EQUITABLE                   PAVILION CENTER                    C/O EQUITABLE MANAGEMENT CORP.
1215 HIGHTOWER TRAIL                            C/O EQUITABLE                      1215 HIGHTOWER TRAIL, STE B-200
ATLANTA, GA 30350                               1215 HIGHTOWER TRAIL               ATLANTA, GA 30350
                                                ATLANTA, GA 30350



PAYCOR                                          PAYTRONIX SYSTEMS INC              PC CONNECTION SALES CORP
4811 MONTGOMERY RD                              80 BRIDGE ST, STE 400              P.O. BOX 536472
CINCINNATI, OH 45212                            NEWTON, MA 02458                   PITTSBURGH, PA 15253-5906




PENNINGTON & TRIM ALARM                         PHELPS DUNBAR LLP                  PHEONIX WHOLESALE FOOD SERVICE
4374 MANGUM DR STE C                            P.O. BOX 974798                    16 FOREST PKWY, BLDG J
FLOWOOD, MS 39232                               DALLAS, TX 75397-4798              FOREST PARK, GA 30297




PHOENIX COMMUNICATIONS CORP                     PHOENIX WHOLESALE FOOD SERVICE     PIAZZA PRODUCE& SPECIALTY FOOD
6949 APPLING FARMS PKWY, STE 101                16 FOREST PKWY, BLDG J             P.O. BOX 68931
MEMPHIS, TN 38133                               FOREST PARK, GA 30297              INDIANAPOLIS, IN 46268-0931




PIEDMONT NATURAL GAS                            PIEDMONT NATURAL GAS               PINNACLE IMPORTS
P.O. BOX 1246                                   P.O. BOX 660920                    3075 MORGAN RD
CHARLOTTE, NC 28201-1246                        DALLAS, TX 75266-0920              BESSEMER, AL 35022




PINNACLE TRUST                                  PIP MARKETING SIGNS PRINT          PLANTED EARTH INC.
ATTN: JEREMY NELSON                             420 CHRISTINE DR                   3365 MOUNTAINSIDE RD
101 PORT ST, STE 200                            RIDGELAND, MS 39157                BIRMINGHAM, AL 35243
MADISON, MS 39110




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PR PRODUCTIONS                                  PREMIER GREASE                     PRIME WINE AND SPIRITS
2625 PIEDMONT                                   P.O. BOX 3535                      3137 CHESTNUT DR
RD NE SUITE 56-402                              ALPHARETTA, GA 30023               ATLANTA, GA 30340
ATLANTA, GA 30324




PRO KLEEN LLC                                   PRO KLEEN LLP                      PRO TEC FIRE SYSTEMS INC
P.O. BOX 660284                                 P.O. BOX 660284                    5455 CRESTVIEW RD, STE 20
BIRMINGHAM, AL 35216                            BIRMINGHAM, AL 35216               MEMPHIS, TN 38134




PSNC ENERGY                                     QUALITY WINE & SPIRITS             QUALITY WINE & SPIRITS
P.O. BOX 100256                                 2279 DEFOOR HILLS RD               280 RIVERSIDE PKWY SW, #400
COLUMBIA, SC 29202-3256                         ATLANTA, GA 30318-2203             AUSTELL, GA 30168




QUINLEY & WHITWORTH HONEY                       RADIOLOGICAL GROUP, PA 401 (K)     RADIOLOGICAL GROUP, PA 401 (K)
720 GRIFFIN RD                                  25 EASTBROOKE CIRCLE               412 MAPLE LN
MASON, TN 38049                                 MADISON, MS 39110                  MADISON, MS 39110




RANKIN COUNTY TAX COLLECTOR                     RAPHAEL SEMMES III                 RDSTUDIO INC
ATTN: JUDY FORTENBERRY                          P.O. BOX 16242                     33 LIVINGSTON AVE
211 E GOVERNMENT ST, STE B                      JACKSON, MS 39236-6242             VALHALLA, NY 10595
BRANDON, MS 39042-3269




REBECCA WARE HALTOM, IRA                        REBEL HIGH VELOCITY SEWER SERV     REGENCY SUITES HOTEL
110 GREEN GLADES                                333 WILMINGTON ST                  975 WEST PEACHTREE ST
RIDGELAND, MS 39157                             JACKSON, MS 39204                  ATLANTA, GA 30309




REMCO                                           REPUBLIC NATIONAL DISTRIBUTING     RESIDENCE INN B'HAM DOWNTOWN
995 YEAGER PARKWAY                              P.O. BOX 37100                     821 20TH ST SOUTH
PELHAM, AL 35124                                LOUISVILLE, KY 40233-7100          BIRMINGHAM, AL 35205




RESIDENCE INN CHAPEL HILL                       RICHARD A WARREN, IRA              RICHARD L EATON
101 ERWIN RD CHAPLE HILL                        103 PIMLICO DR                     P.O. BOX 14067
CHAPEL HILL, NC 27514                           BRANDON, MS 39042                  JACKSON, MS 39236




RJ YOUNG COMPANY                                RJ YOUNG COMPANY INC               ROBERTSON PRODUCE MISSISSIPPI
ATTN: ANGELA EZELL                              MSC 7511                           1530 BUSINESS PARK DR
809 DIVISION ST.                                P.O. BOX 415000                    CLINTON, MS 39056
NASHVILLE, TN 37203                             NASHVILLE, TN 37241-7511




ROBERTSON PRODUCE OF MISSISSIPPI, LLC           ROBIN C. SELBY RLT                 ROETZEL & ANDRESS, LPA
ATTN: ERIC N. WHITLOCK                          1360 PLAYMOOR DR                   ATTN: BRUCE R SCHRADER, II
101 HORSESHOE LAKE RD.                          PALM HARBOR, FL 34683              222 SOUTH MAIN ST.
MONROE, LA 71203                                                                   AKRON, OH 44308




ROETZEL & ANDRESS, P.A.                         ROGER G. AND JAN E. FOSTER         ROGER G. OR JAN E. FOSTER
222 SOUTH MAIN ST                               1120 POINTE COVE                   1120 POINTE COVE
AKRON, OH 44308                                 BRANDON, MS 39042                  BRANDON, MS 39042




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ROLLING MEADOWS, LP                             RONALD ROSATI                      RONALD ROSATI
P.O. BOX 3216                                   201 FLORIDA ALE                    P. O. BOX 3216
RIDGELAND, MS 39157                             DUNEDIN, FL 34698                  RIDGELAND, MS 39158




ROOFTOP SOLUTIONS                               ROYAL CUP COFFEE                   S&S MANAGEMENT GROUP LLC
2019 CORPORATE LANE, STE 119                    P.O. BOX 206011                    P.O BOX 733803
CHICAGO, IL 60653                               DALLAS, TX 75320-6011              DALLAS, TX 75373-3803




S&S MANAGEMENT GROUP LLP                        S. RANDY EASTERLING, MD            S.A.R. & ASSOCIATES LLC
P.O. BOX 733803                                 607 TIFFINTOWN RD                  73 WOODSTOCK RD
DALLAS, TX 75373-3803                           VICKSBURG, MS 39183                ROSWELL, GA 30075




S.A.R. & ASSOCIATES, INC.                       SAFEGUARD BUSINESS SYSTEMS         SALUS 33 PEACHTREE PLACE
70 WOODSTOCK RD                                 P.O. BOX 645624                    C/O NINE 15 MIDTOWN
ROSWELL, GA 30075                               CINCINNATI, OH 45264-5624          915 WEST PEACHTREE ST NW
                                                                                   ATLANTA, GA 30309




SAMANAGE USA INC                                SAMNAGE NORTH AMERICA              SAR & ASSOCIATES INC
DEPT CH 10719                                   117 EDINBURGH S, STE 100           73 WOODSTOCK RD
PALATINE, IL 60055-0719                         CARY, NC 27511                     ROSWELL, GA 30075-3560




SAR & ASSOCIATES INC                            SARD & LEFF LLC                    SARD & LEFF LLP
ATTN: STEVEN ROCHLIN                            3789 ROSWELL RD                    3789 ROSWELL RD
73 WOODSTOCK RD                                 ATLANTA, GA 30342                  ATLANTA, GA 30342
ROSWELL, GA 30075-3560




SAT/DT, LLC                                     SAT/DT, LLC                        SAT/DT, LLP
C/O ASHLEY TILLMAN                              C/O SARAH A. TILLMAN               C/O ASHLEY TILLMAN
600 JEFFERSON DR                                600 JEFFERSON DR                   600 JEFFERSON DR
CHARLOTTE, NC 28270-5348                        CHARLOTTE, NC 28270-5143           CHARLOTTE, NC 28270-5348




SAT/DT, LLP                                     SAVANNAH DISTRIBUTING CO INC       SAVANNAH DISTRIBUTING CO INC
C/O SARAH A TILLMAN                             2860 BANKERS INDUSTRI              2860 BANKERS INDUSTRIAL DR
600 JEFFERSON DR                                ATLANTA, GA 30360                  ATLANTA, GA 30360
CHARLOTTE, NC 28270-5143




SEAN CHISOLM                                    SHERATON CHAPEL HILL               SHOFFNER KALTHOFF MES INC
9755 DOGWWOOD RD STE 200                        ONE EUROPA DR                      P.O. BOX 10048
ROSWELL, GA 30075                               CHAPEL HILL, NC 27517              KNOXVILLE, TN 37939-0048




SIDNEY P. ALLEN, JR., IRA                       SIMMONS FARM RAISED CATFISH        SMART CARE EQUIPMENT SOLUTIONS
200 BRAE BURN DR                                2628 ERICKSON RD                   P.O. BOX 74008980
JACKSON, MS 39211-1000                          YAZOO CITY, MS 39194               CHICAGO, IL 60674-8980




SMILEY PETE PUBLISHING LLC                      SMILEY PETE PUBLISHING LLP         SMITH FIXTURE CO INC
P.O. BOX 658                                    P.O. BOX 658                       257 EAST GEORGIA
LEXINGTON, KY 40588-0658                        LEXINGTON, KY 40588-0658           MEMPHIS, TN 38126




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SMITH FIXTURE COMPANY                           SNAGAJOB COM INC                   SOEFKER SERVICES LLC
ATTN: WILLIAM MCCREERY                          32978 COLLECTION CENTER DR         1568 PANAMA ST
257 E GEORGIA AVE                               CHICAGO, IL 60693-0329             MEMPHIS, TN 38108-1919
MEMPHIS, TN 38126




SOEFKER SERVICES LLP                            SOUTH CENTRAL AV                   SOUTHERN BEVERAGE CO
1568 PANAMA ST                                  P.O. BOX 633497                    1939 DAVIS
MEMPHIS, TN 38108-1919                          CINCINNATI, OH 45263-3497          RICHLAND, MS 39218




SOUTHERN GLAZERS                                SOUTHERN GLAZER'S OF KY            SOUTHERN GLAZERS WINE & SPIRIT
6290 SHELBY VIEW                                P.O. BOX 991399                    337 INDUSTRIAL DR
MEMPHIS, TN 38134                               LOUISVILLE, KY 40269               JACKSON, MS 39209




SPECTACULAR FLOORING                            SPIRE                              STACK & MOYER FAMILY HLDG LLC
ATTN: TIMOTHY PECK                              P.O. BOX 2224                      1308 POST DR
2462 GINA DR                                    BIRMINGHAM, AL 35246-0022          BOZEMAN, MT 59715
PEARL, MS 39208




STACK & MOYER FAMILY HLDG LLC                   STACK & MOYER FAMILY HLDG LLP      STAN STOUT
ATTN: MIKE STACK                                1308 POST DR                       9755 DOGWOOD RD, STE 200
1308 POST DR                                    BOZEMAN, MT 59715                  ROSWELL, GA 30075
BOZEMAN, MT 59715




STANLEY ENVIRONMENTAL SOLUTION                  STAPLES ADVANTAGE INC              STAPLES BUSINESS ADVANTAGE
131 MARIPOSA RD                                 P.O. BOX 105748                    ATTN: TOM RUGGLEMAN
STANLEY, NC 28164                               ATLANTA, GA 30348-5748             7 TECHNOLOGY CIRCLE
                                                                                   COLUMBIA, SC 29203




STAPLES BUSINESS ADVANTAGE                      STATE SYSTEMS INC                  STEELE ENTERPRISES LANDSCAPE S
P.O. BOX 105748                                 P.O. BOX 372                       P.O. BOX 1277
ATLANTA, GA 30349                               DEPT 90                            OLIVE BRANCH, MS 38654
                                                MEMPHIS, TN 38101




STERLING INFOSYSTEMS, INC.                      STEVEN A ROCKWELL                  STEVEN G. COLLINS
1 STATE ST PLAZA, 24TH FL                       2919 CAVES RD                      101 FAIRVIEW AVE
NEW YORK, NY 10004                              OWINGS MILLS, MD 21117             GREENVILLE, SC 29601




STEVEN ROCKWELL                                 STRATEGIC EQUIPMENT AND SUPPLY     SUNRISE PRODUCE JACKSON
40 EAST 89TH ST, APT 4H                         P.O.BOX 654020                     4229 MICHAEL AVALON ST
NEW YORK, NY 10128-1216                         DALLAS, TX 75265-4020              JACKSON, MS 39209




SWANI GONZALEZ                                  SYNERGY                            SYSCO
875 HUNTERHILL DR                               P.O. BOX 2960                      1390 ENCLAVE PKWY
ROSWELL, GA 30075                               MADISON, MS 39130                  HOUSTON, TX 77077-2099




SYSCO ATLANTA - 684530                          SYSCO ATLANTA - 684530             SYSCO BIRMINGHAM - 621110
1000 SYSCO DR                                   ATTN: DESIREE GEEGAN               ATTN: DESIREE GEEGAN
CALERA, AL 35040                                1000 SYSCO DR                      1000 SYSCO DR
                                                CALERA, AL 35040                   CALERA, AL 35040




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SYSCO BIRMINGHAM- 621110                        SYSCO CENTRAL ALABAMA              SYSCO CHAPEL HILL 892331
1000 SYSCO DR                                   1000 SYSCO DR                      P.O. BOX 96
CALERA, AL 35040                                CALERA, AL 35040                   CONCORD, NC 28026




SYSCO CHARLOTTE LLC                             SYSCO CHARLOTTE LLP                SYSCO JACKSON LLC
P O BOX 96                                      ATTN: CASHIER                      ATTN: DESIREE GEEGAN
ATTN CASHIER                                    P.O. BOX 96                        P.O. BOX 2900
CONCORD, NC 28026                               CONCORD, NC 28026                  JACKSON, MS 39207-2900




SYSCO JACKSON LLC                               SYSCO JACKSON LLC 659433           SYSCO JACKSON LLP
P.O. BOX 2900                                   P.O. BOX 2900                      P.O. BOX 2900
JACKSON, MS 39207-2900                          JACKSON, MS 39207-2900             JACKSON, MS 39207-2900




SYSCO KNOXVILLE LLC                             SYSCO KNOXVILLE LLP                SYSCO KNOXVILLE LLP 195891
900 TENNESSEE AVE                               900 TENNESSEE AVE                  900 TENNESSEE AVE
KNOXVILLE, TN 37921-2630                        KNOXVILLE, TN 37921-2630           KNOXVILLE, TN 37921-2630




SYSCO LEXINGTON LLC 233668                      SYSCO LEXINGTON LLP 233668         SYSCO MEMPHIS
900 TENNESSEE AVE                               900 TENNESSEE AVE                  4359 BF GOODRICH BLVD
KNOXVILLE, TN 37921-2630                        KNOXVILLE, TN 37921-2630           MEMPHIS, TN 38118




SYSCO MEMPHIS EAST - 816355                     SYSCO OVERTON-741751               T&S FIRE SECURITY
4359 B.F. GOODRICH BLVD                         4359 B.F GOODRICH BLVD             3025 RANDLEMAN RD
MEMPHIS, TN 38118-7306                          MEMPHIS, TN 38118-7306             GREENSBORO, NC 27406




TAYLOR ENGLISH DUMA LLP                         TEA & COFFEE                       TEA & COFFEE AMERICA
1600 PARKWOOD CIRCLE, STE 400                   1070 LINDBERGH DR                  1070 LINDBERGH DR
ATLANTA, GA 30339                               BEAUMONT, TX 77707                 BEAUMONT, TX 77707




TEAMVIEWER GMBH                                 TECH 24-COMMERCIAL FOODSERVICE     TENNESSEE ALCOHOLIC BEV COMM'N
P.O. BOX 743135                                 P.O. BOX 638959                    DAVY CROCKETT TOWER
ATLANTA, GA 30374-3135                          CINCINNATI, OH 45263-8959          3RD FL, 500 JAMES ROBERTSON
                                                                                   NASHVILLE, TN 37243




TENNESSEE ALCOHOLIC BEV COMM'N                  TENNESSEE DEPARTMENT OF REVENUE    TENNESSEE DEPARTMENT OF REVENUE
DAVY CROCKETT TOWER                             500 DEADERICK ST                   ATTN: ATTORNEY GENERAL
500 JAMES ROBERTSON, 3RD FL                     NASHVILLE, TN 37242                P.O. BOX 20207
NASHVILLE, TN 37243                                                                NASHVILLE, TN 37202-0207




TENNESSEE DEPARTMENT OF REVENUE                 TENNESSEE DEPARTMENT OF REVENUE    TENNESSEE DEPARTMENT OF REVENUE
ATTN: SHERRY GRUBBS                             C/O ATTORNEY GENERAL               C/O TENNESSEE ATTORNEY GENERAL'S OFFICE
500 DEADERICK ST.                               P.O. BOX 20207                     BANKRUPTCY DIVISION
NASHVILLE, TN 37242                             NASHVILLE, TN 37202                P.O. BOX 20207
                                                                                   NASHVILLE, TN 37202-0207



TENNESSEE DEPT OF REVENUE                       THE COCA-COLA COMPANY              THE DISH OUTLET INC
ANDREW JACKSON ST OFFICE BLDG                   1 COCA-COLA PLAZA NW               242B BIG RUN RD
500 DEADERICK ST                                ATLANTA, GA 30313                  LEXINGTON, KY 40503
NASHVILLE, TN 37242-1100




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THE DOOR DOCTORS INC                            THE DRAINAGE SOLUTION COMPANY                   THE FLATEMAN ROTHMAN LAW FIRM
652 CORT CIR NE                                 P.O. BOX 67                                     500 FIFTH AVE, STE 2400
BIRMINGHAM, AL 35215                            ELM CITY, NC 27822                              NEW YORK, NY 10110




THE FLOWER GIRLS                                THE HILLER COMPANIES                            THE ICEBOX
2460 MEADOWBROOK RD                             P.O. BOX 935434                                 700 LAKE AVE
JACKSON, MS 39211                               ATLANTA, GA 31193-5434                          ATLANTA, GA 30307




THE KERNER FAMILY 944 CANTON L                  THE KITCHEN GUYS LLC                            THE KITCHEN GUYS LLP
90 CLIFFSIDE CROSSING                           1181 MILLBRIDGE LANE                            1181 MILLBRIDGE LN
ATLANTA, GA 30350                               MEMPHIS, TN 38120                               MEMPHIS, TN 38120




THE O'KEEFE GROUP INC                           THE U.S. ATTORNEY FOR THE NORTHERN DISTRICT O   THEODORE STAPLETON
17 BANK ST                                      ATTN: CIVIL PROCESS CLERK                       2802 PACES FERRY RD, SE, STE 100B
P.O. BOX 1240                                   NORTHERN DISTRICT OF GEORGIA                    ATLANTA, GA 30339
ATTLEBORO, MA 02703                             75 TED TURNER DR, SW STE 600
                                                ATLANTA, GA 30303-3309



THROWER ELECTRIC INC                            THROWER ELECTRIC, INC.                          TIM J ANTIGNANE
165 BOBBY BOSS DR                               ATTN: AMIE THROWER                              2004 CALIBRE CREEK PKWY
LOGANVILLE, GA 30052                            165 BOBBY BOSS DR                               ROSWELL, GA 30076
                                                LOGANVILLE, GA 30052




TIME WARNER CABLE                               TIME WARNER CABLE                               TIMOTHY ANTIGNANE
P.O. BOX 1060                                   P.O. BOX 70872                                  622 DULING AVE, STE 106
CAROL STREAM, IL 60132-1060                     CHARLOTTE, NC 28272-0872                        JACKSON, MS 39211-6000




TITANS ELECTRICAL INC                           TN DEPARTMENT OF REVENUE                        TN DEPARTMENT OR REVENUE
8421 OLD BROWNSVILLE RD                         500 DEADERICK ST                                500 DEADERICK ST
ARLINGTON, TN 38002                             NASHVILLE, TN 37242                             NASHVILLE, TN 37242




TODD HINES                                      TOTAL EQUIPMENT MAIN CO INC                     TOTAL MAINTENANCE & CONSTR
P. O. BOX 3216                                  550 PEARL PARK PLAZA                            5810 WILLOW SPRINGS DR
RIDGELAND, MS 39158                             PEARL, MS 39208                                 MILLINGTON, TN 38053




TOWN OF CHAPEL HILL                             TOWNEPLACE SUITES KNOXVILLE                     TOWNEPLACE SUITES MARRIOTT
C/O FIRE RECOVERY USA, LLC                      205 LANGLEY PLACE                               500 WILDWOOD CIRCLE N
P.O. BOX 935667                                 KNOXVILLE, TN 37922-2352                        BIRMINGHAM, AL 35209
ATLANTA, GA 31193-5667




TRAMONTE & SONS LLC                             TRAMONTE & SONS LLP                             TRIANGLE REFRIGERATION SERVICE
3850 WELDEN DR                                  3850 WELDEN DR                                  739 PERSHING RD
LEBANON, OH 45036                               LEBANON, OH 45036                               RALEIGH, NC 27608




TRIPLE C DISTRIBUTING COMPANY                   TRI-TECH PRESSURE WASHING INC                   TRITEX SERVICES
P.O. BOX 10068                                  120 RIVERS EDGE WAY                             P.O. BOX 962
KNOXVILLE, TN 37939-0068                        LANCASTER, KY 40444                             TRENTON, GA 30752




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TROY BOWENS                                     TRYON                              U.S. SECURITIES & EXCHANGE COMMISSION
2551 ELMS CT, APT 4                             4701 STOCKHOLM CT                  OFFICE OF REORGANIZATION
MEMPHIS, TN 38128                               CHARLOTTE, NC 28273-5901           950 EAST PACES FERRY ROAD NE
                                                                                   SUITE 900
                                                                                   ATLANTA, GA 30326-1382



ULTIMATE DISTRIBUTORS                           UNISHIPPERS INC                    UNITED DAIRY FARMERS, INC.
1376 HILLS PI NW                                3337 NORTH HULLEN ST, STE 300      3955 MONTGOMERY RD
ATLANTA, GA 30318                               METAIRIE, LA 70002                 CINCINNATI, OH 45212




UNITED DISTRIBUTORS INC                         UNITED STATES TREASURY             UNITED-JOHNSON BROTHERS OF ALA
5500 UNITED DRIVE                               P.O. BOX 9941, STOP 6552           6000 GREENWOOD PKWY, STE 100
SMYRNA, GA 30082                                OGDEN, UT 84409-0941               BESSEMER, AL 35022




US ASSURE INC                                   VALLEY PRODUCE INC                 VISUAL RENAISSANCE PHOTO.
P.O. BOX 935597                                 7130 SMALL CREEK WAY               945 COLLEGE PLACE CT
ATLANTA, GA 31193-5597                          POWELL, TN 37849                   KENNESAW, GA 30144




WAVERLY RETAIL LLC                              WEBBMASON MARKETING                WELLINGTON E. LLC DBA HOMEWOOD SUITES BY
301 S COLLEGE ST, STE 2800                      P.O. BOX 62414                     C/O COMMONWEALTH HTLS
CHARLOTTE, NC 28202-6021                        BALTIMORE, MD 21264-2414           ATTN: LINDA SARNO
                                                                                   100 E RIVERCENTER BLVD, STE 1050
                                                                                   COVINGTON, KY 41011



WELLS FARGO                                     WELLS FARGO FINANCIAL LEASING      WELLS FARGO FINANCIAL LEASING, INC.
P.O. BOX 6434                                   P.O. BOX 10306                     ATTN: EMILY ALERY
CAROL STREAM, IL 60197-6434                     DES MOINES, IA 50306-0306          800 WALNUT ST.
                                                                                   MAC F0005-055
                                                                                   DES MOINES, IA 50309



WEST TENNESSEE CROWN DIST CO                    WESTERMAN, HATTORI, ET AL. LLP     WHALEY FOOD SERVICE
7625 APPLING CENTER DR                          1250 CONNECTICUT AVE NW, STE 700   P.O. BOX 615
MEMPHIS, TN 38133-5069                          WASHINGTON, DC 20036               LEXINGTON, SC 29071




WHEATON FOUNDATION                              WIER BOERNER ARCHITECTURE PLLC     WILLIAM COZART
P.O. BOX 14067                                  2727 OLD CANTON RD, STE 200        211 ARMSTRONG DR.
JACKSON, MS 39236                               JACKSON, MS 39216                  BELMONT, NC 28012




WILSON & WILSON IRRIGATION                      WILSON & WILSON IRRIGATION         WILSON SAFE COMPANY
2610 LAKELAND DR                                2610 LAKELAND DR                   P.O. BOX 5310
3031 ISLAND AVE                                 FLOWOOD, MS 39232                  3031 ISLAND AVE
FLOWOOD, MS 39232                                                                  PHILADELPHIA, PA 19142




WISELY INC                                      WORLD SPICE INC                    XCELERATE NETWORKS
120 WEST WASHINGTON, STE G 2ND FL               217 DAMERON AVE                    3108 6TH AVE S
ANN ARBOR, MI 48104                             KNOXVILLE, TN 37917                BIRMINGHAM, AL 35233




XTREEM CLEAN                                    YELP INC                           ZURICH NORTH AMERICA
9604 CHI CHI LANE                               140 NEW MONTGOMERY ST, 9TH FL      1299 ZURICH WAY
ARLINGTON, TN 38002                             SAN FRANCISCO, CA 94105            SCHAUMBURG, IL 60196-1056




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ZURICH NORTH AMERICA
P.O. BOX 4664
CAROL STREAM, IL 60197-4664




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